          Case 2:20-cv-01772-RAJ-BAT Document 22 Filed 07/14/21 Page 1 of 3




                                                        THE HONORABLE BRIAN A. TSUCHIDA
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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT SEATTLE
10
     GREGORY AKSELROD, on behalf of himself
11   and all others similarly situated,
                                                          NO. 2:20-cv-01772-RAJ-BAT
12                                 Plaintiff,
                                                          STIPULATED NOTICE OF
13                                                        PLAINTIFF’S DISMISSAL OF ALL
            vs.
                                                          CLAIMS WITHOUT PREJUDICE
14
     HOOZIP, INC. d/b/a REIRAIL,                          NOTE ON MOTION CALENDAR:
15                                                        July 14, 2021
                                   Defendant.
16

17
            The parties, by and through their undersigned counsel, and pursuant to Fed. R. Civ. P.
18
     41(a)(1)(A)(ii), hereby stipulate to Plaintiff’s dismissal of all claims against Defendant without
19
     prejudice.
20
            RESPECTFULLY SUBMITTED AND DATED this 14th day of July, 2021.
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                                                                                TURKE & STRAUSS LLP
     STIPULATED NOTICE OF PLAINTIFF’S DISMISSAL OF                             936 North 34th Street, Suite 300
                                                                              Seattle, Washington 98103-8869
     ALL CLAIMS WITHOUT PREJUDICE - 1                                       TEL. 608.237.1775  FAX 608.509.4423
     Case No. 3:21-cv 05093-DWC                                                     www.turkestrauss.com
          Case 2:20-cv-01772-RAJ-BAT Document 22 Filed 07/14/21 Page 2 of 3




 1

 2   /s/ Samuel J. Strauss, WSBA #46971          /s/ Joshua Briones, Admitted Pro Hac Vice
     Samuel J. Strauss, WSBA #46971             Joshua Briones, Admitted Pro Hac Vice
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13                                              Attorneys for Defendant Hoozip, Inc.
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                                                                        TURKE & STRAUSS LLP
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     Case No. 3:21-cv 05093-DWC                                             www.turkestrauss.com
          Case 2:20-cv-01772-RAJ-BAT Document 22 Filed 07/14/21 Page 3 of 3




                                        CERTIFICATE OF SERVICE
 1
            I, Samuel J. Strauss, hereby certify that on July 14, 2021, I electronically filed the
 2

 3   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification

 4   of such filing to the following:
 5                  Joshua Briones, Admitted Pro Hac Vice
 6                  Kathryn L. Ignash, Admitted Pro Hac Vice
                    MINTZ LEVIN COHN FERRIS
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14                  Email: riojas@goldfarb-huck.com

15                  Attorneys for Defendant

16          DATED this 14th day of July, 2021.
17
                                              TURKE & STRAUSS LLP
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                                              By:     /s/ Samuel J. Strauss, WSBA #46971
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